From:                  TEAM2018, gov (GOV sponsored)
To:                    Blanford, Anthony L (HSS)
CC:                    O'Brien, Shawnda S (HSS)
Sent:                  12/3/2018 9:47:39 AM
Subject:                Employment Notification




Thank you for your service to the State of Alaska. You are hereby notified that your position has been terminated
effective December 3, 2018 at noon. If you have any questions, please contact your administrative services director.

Tuckerman Babcock
Governor-Elect Dunleavy
Transition Chair

cc: Shawnda O'Brien, Administrative Services




                                                                                  Exhibit 22, Page 1 of 1
                                                                Plaintiffs' Motion for Sumary Judgment



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